  ORIGINAL
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                           SEALED
United States Attorney-      BY ORDSR OF THE COURT
District of Hawaii


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Room 6-100, PJKK Federal Building               UNITED STATES DISTRICT COURT
                                                     DISTRICT OF HAWAII
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Attorneys for Plaintiff
UNITED STATES OF AMERICA




                 IN THE UNITED STATES DISTRICT COURT


                     FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,             MAG. NO. 18-0596 RLP


                 Plaintiff,           CRIMINAL COMPLAINT


     vs



MARK CABRAL, and             (1)
CHERIE ROER,                 (2)

             Defendant,




                           CRIMINAL COMPLAINT


          I, the undersigned complainant, being duly sworn,

state the following is true and correct to the best of my

knowledge and belief:

          On or about January 1, 2018, through an including
     May 8, 2018, in the District of Hawaii, Mark Cabral
     and Cherie ROER, defendants herein, did knowingly and
     intentionally possess, and attempt to possess, with
     intent to distribute, 50 grams or more of
     methamphetamine, its salts, isomers and salts of its
     isomers, a Schedule II controlled substance, in
     violation of Title 21, United States Code, Sections
     841(a)(1) and (b)(1)(A) and 8146.

          1 further state that 1 am a Special Agent of Homeland

Security Investigations and that this Complaint is based upon

the facts set forth in the attached "Affidavit in Support of

Criminal Complaint", which is incorporated herein by reference.

         DATED: HONOLULU, HAWAII: June ^ , 2018.




                             AMY GAI
                                 SpecialV^gfent, HSl


Sworn to and subscribed in my presence, this
 ^"Q^ay of June 2018:



Honorable KEVIN   C. CHANG
UNITED STATES MAGISTRATE JUDGE
                      AFFIDAVIT OF AMY GARON


     AMY GARON, after being duly sworn, deposes and says as
follows:


     1.   I am a Special Agent with the Immigration & Customs
Enforcement (ICE), Homeland Security Investigations (HSI), and
have been since April of 2007. I am currently assigned to the
HSI Office of the Special Agent in Charge, Honolulu, Hawaii, and
investigate all laws related to Customs and Immigration. I was
also a Reserve Special Agent with the Coast Guard Investigative
Service (CGIS) from November 2003 to January 2015.   As a CGIS
SA, I was assigned to the CGIS Resident Agent Office Honolulu
and investigated violations of federal criminal law and the
Uniform Code of Military Justice. Prior to HSI, I was a
Honolulu Police Officer from July 1997 to April 2007 and
responsible for the enforcement of municipal and state traffic
and criminal laws. I have participated in all aspects of
narcotics investigations including surveillance, execution of
search warrants, and arrests of numerous narcotics traffickers.

     2.    I have training and experience in the investigation of
narcotics trafficking. I have participated in over twenty
narcotics investigations both as a case agent and in a
subsidiary role. I have also participated in the debriefing of
a number of defendants, informants, and witnesses who had
personal knowledge regarding major narcotics trafficking
organizations. Additionally, I have participated in many
aspects of drug investigations, including conducting
surveillance and conducting court ordered interceptions of wire
communications.   I am familiar with narcotics traffickers'
methods of operation, including the manufacture, storage,
transportation, and distribution of narcotics, the collection of
money that represents the proceeds of narcotics trafficking, and
money laundering. I am also familiar as to the manner in which
narcotics traffickers transport and distribute narcotics in
areas they control.

     3.   In the early morning hours of May 8, 2018, a private
citizen turned in a UPS parcel that had been mistakenly
delivered to his residence, 16-2G33A Mauna Kea Dr., Pahoa, HI,
into the Hawaii Police Department (HCPD). The private citizen
had opened the box and found hidden within unsealed perfume
boxes, a crystal like substance which he recognized from prior
use, to be crystal methamphetamine.

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     4.   The parcel bore the following information:

          Tracking number: 1ZA832W30333079703
          Date:     03 May 2018
          From:     Gorge MARTINEZ LOPEZ, (626) 228-8998, The
                    UPS Store #3531, 1030 N Mountain Ave,
                    Ontario, CA 91762
          To:       Justice CABRAL, 16-2033 Mauna Kea Dr, Pahoa,
                    HI 96778


     5.   Attempts to identify MARTINEZ LOPEZ further met with
negative results.

     6.   HCPD Officer Kohara recovered the parcel and conducted
presumptive field tests on four of the bags of crystal-like
substance within the parcel. All four tests resulted in a
positive result for methamphetamine.

     7.   HCPD Detective Zachary Fernando recovered the parcel
and contents from Officer Kohara and submitted the parcel for a
narcotics canine screening, which was positive for the presence
of a controlled substance.


     8.   Detective Fernando obtained a State of Hawaii search
warrant for the parcel resulting in the recovery of
approximately ten pounds of field tested positive crystal
methamphetamine. The purported crystal methamphetamine was
submitted to the HCPD laboratory for analysis.

     9.   The HCPD laboratory confirmed that the substance was
crystal methamphetamine.

     10. On May 8, 2018, HCPD Detective Ian Lee Loy met with
Clyde Albez, a resident of 16-2033B Mauna Kea Dr., Pahoa, HI.
Albez related that earlier that morning, Marsha Pak and Helen
Roer, his sisters, came by and asked if a "box" was delivered.
Albez answered that he was unaware if a box had been delivered.
Albez stated that Helen Roer is the mother of Cherie ROER, and
her boyfriend is Mark CABRAL.

     11. Detective Lee Loy departed the 16-2033B Mauna Kea Dr
residence and walked out to the roadway. Detective Lee Loy
observed a silver Tacoma truck slowly approaching the residence.
Detective Lee Loy approached the vehicle and waved his arms to
get the driver's attention. Detective Lee Ley was approximately
five feet away when the vehicle veered away from him and sped
away. Detective Lee Loy recognized the driver to be CABRAL and
observed a large female passenger, whom he believed to be ROER.

     12.   Cherie ROER and Mark CABRAL have been identified in an
associated investigation as distributors of crystal
methamphetamine in the Hilo / Pahoa region of the Island of
Hawaii.


     13.   ROER has five felony level arrests for and one felony
conviction for controlled substances in the State of Hawaii.
ROER has a total of thirteen felony arrests with six convictions
and eleven misdemeanor arrests with three convictions in the
State of Hawaii.


     14. CABRAL has seventeen felony level arrests for and
eight felony convictions for controlled substances in the State
of Hawaii. CABRAL has a total of twenty-five felony arrests
with nine convictions, and thirty-three misdemeanor arrests with
seventeen convictions in the State of Hawaii.


     15.   Detective Lee Loy learned that ROER has a juvenile
female child with the first name of Justice.


     16.   Based on the above and other additional information.
Detective Lee Loy obtained State of Hawaii arrest warrants for
CABRAL and ROER for Promotion of a Dangerous Drug in the First
Degree and Prohibited Acts - Drug Paraphernalia, both felony
violations of State of Hawaii law.


     17. On May 22, 2018, CABRAL was located and arrested by
Detective Lee Loy. CABRAL was driving the same silver Tacoma
truck, which turned out to be stolen. Subsequently a search
warrant was obtained and executed and two "ice" pipes were
located in the center console.


     18. On May 23, 2018, Homeland Security Investigations
Special Agent Amy Garon and Detective Lee Loy interviewed CABRAL
at the HCPD Hilo Station. Special Agent Garon provided CABRAL
with his constitutional rights, which he waived and opted to
give a statement.

     19.   CABRAL admitted that the UPS parcel delivered on May
8, 2018, was intended for ROER.   CABRAL admitted that he knew
there was crystal methamphetamine in the parcel, but denied
knowing the amount of crystal methamphetamine contained within.
CABRAL admitted that he and ROER have a daughter with the same
first name as the parcel's addressee.

     20.   CABRAL admitted that since the beginning of 2018, he
and ROER received two other parcels at the 16-2033 Mauna Kea Dr.
address containing crystal methamphetamine.   The first parcel
contained approximately seven pounds and the second contained
approximately ten pounds.

     21. CABRAL stated that their source of supply is based in
California and that primarily ROER communicated with them.

     22.   CABRAL stated that they paid approximately $60,000 for
the crystal methamphetamine in the first parcel through several
bank wires at his bank, CU Hawaii Federal Credit Union.   ROER
sent the payment, approximately $50,000, for the crystal
methamphetamine in the second parcel through the US Mail.

     23. On June 4, 2018, UPS responded to a subpoena and
identified two other parcels that were delivered to the 16-2033
Mauna Kea Dr., Pahoa, HI address:

           a.   Tracking number 1ZA832W30364486447, delivered on
March 2, 2018

           b.   Tracking number 1ZA832W30332070053, delivered on
March 30, 2018.

     24.   UPS also identified that like the May 8, 2018 parcel,
these two parcels were mailed from The UPS Store #3531, 1030 N
Mountain Ave, Ontario, CA.

     25.   Methamphetamine is a Schedule II controlled substance.

     FURTHER AFFIANT SAYETH NAUGHT.




                               AMY pARON
                               SpecVaj/Agent, HSI

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This Criminal Complaint and Affidavit in support thereof were
presented to, approved by, and probable cause to believe that
the defendants above-named committed the charged crime found to
exist by the undersigned Judicial Officer at
June ^ , 2018.

Subscribed and Sworn to Before Me,
this       day of June 2018.




Honorable KEVIN^.C. CHANG
UNITED STATES MAGISTRATE JUDGE
